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                      IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

  JAMES E. SHELTON, individually and on             Case No.
  behalf of all others similarly situated,          2:24-CV-02140-WB


                        Plaintiff,                  JURY TRIAL DEMANDED
         v.

  DOT Compliance Services, LLC

  and

  Christian Perales
                        Defendants.

                       [PROPOSED ORDER] GRANTING
                MOTION TO COMMENCE DISCOVERY TO OBTAIN
               RECORDS THAT IDENTIFY PUTATIVE CLASS MEMBERS


              AND NOW, this _____ day of ___________, 2025, it is hereby ORDERED that

the Plaintiff’s Motion To Commence Discovery To Obtain Records That Identify Putative Class

Members IS GRANTED. Discovery in this matter is ordered open. Discovery shall be completed

by ________________________, at which point Plaintiff shall file either a Motion for Class

Certification or a Motion for Individual Default Judgment.



                                            BY THE COURT:


                                            ____________________________
                                            Hon. Wendy Beetlestone, J.
